                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

 AMF BOWLING CENTERS, INC.;                      §
 BOWLERO CORP.                                   §
                                                 §
               Plaintiffs,                       §
                                                 §
        vs.                                      §    CIVIL ACTION NO. 3:23-cv-00448
                                                 §
 THOMAS TANASE,                                  §
                                                 §
               Defendant.                        §

                                MOTION FOR SANCTIONS

       For the reasons provided in the accompanying memorandum of law, Plaintiffs AMF

Bowling Centers, Inc. and Bowlero Corp. (collectively, “Bowlero” or the “Company”) respectfully

move for sanctions in the form of a default judgment in Bowlero’s favor as to liability, or,

alternatively, for an order precluding Defendant Thomas Tanase’s further affirmative testimony.


Dated: April 4, 2024                          Respectfully submitted,

                                               AMF BOWLING CENTERS, INC.
                                               and BOWLERO CORP.

                                               /s/ Neil S. Talegaonkar
                                               Randy C. Sparks, Jr. (VSB No. 40723)
                                               Neil S. Talegaonkar (VSB No. 44589)
                                               Catrina C. Waltz (VSB No. 98446)
                                               KAUFMAN & CANOLES, P.C.
                                               1021 East Cary Street, Suite 1400
                                               Phone: (804) 771-5700
                                               Fax:      (888) 360-9092
                                               Emails: rcsparks@kaufcan.com
                                                         nstalegaonkar@kaufcan.com
                                                         ccwaltz@kaufcan.com
Alex Spiro (NY Bar No. 4656542)
(Admitted Pro Hac Vice)
Hope D. Skibitsky (NY Bar No. 5362124)
(admitted Pro Hac Vice)
Daniel Sisgoreo (NY Bar No. 5812417)
(Admitted Pro Hac Vice)
Cara Mund (NY Bar No. 6069199)
(Admitted Pro Hac Vice)
QUINN EMANUEL URQUHART &
SULLIVAN LLP
51 Madison Avenue, Floor 22
New York, NY 10010
Phone: (212) 849-7000
Fax:     (212) 849-7100
Emails: alexspiro@quinnemanuel.com
         hopeskibitsky@quinnemanuel.com
         danielsisgoreo@quinnemanuel.com
         caramund@quinnemanuel.com

Counsel for Plaintiffs AMF Bowling Centers, Inc.
and Bowlero Corp.




-2-
                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of April, 2024, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing to the following counsel for Defendant Thomas Tanase:

I. Scott Pickus, Esq.
10132 West Broad Street
Glen Allen, VA 23060
Email: spickus1@comcast.net

Alan Jay Cilman, Esq.
10474 Armstrong Street
Fairfax, VA 22030
Email: acilman@aol.com




                                              /s/ Neil S. Talegaonkar
                                              Neil S. Talegaonkar (VSB No. 44589)
                                              Kaufman & Canoles, P.C.
                                              Two James Center
                                              1021 East Cary Street, Suite 1400
                                              Richmond, Virginia 23219
                                              Telephone: (804) 771-5700
                                              Facsimile: (888) 360-9092
                                              Email: nstalegaonkar@kaufcan.com




                                                -3-
